

Matter of 129 MacDougal St. Assoc. Inc. v  Tax Commn. of the City of N.Y. (2023 NY Slip Op 01581)





Matter of 129 MacDougal St. Assoc. Inc. v  Tax Commn. of the City of N.Y.


2023 NY Slip Op 01581


Decided on March 23, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 23, 2023

Before: Renwick, J.P., Friedman, Scarpulla, Mendez, Rodriguez, JJ. 


Index No. 204302/04 Appeal No. 17575 Case No. 2022-01526 

[*1]In the Matter of 129 MacDougal Street Associates Inc., Petitioner-Appellant,
vThe Tax Commission of The City of New York et al., Respondents-Respondents.


David J. Aronstam, New York, for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Steven T. Traditi of counsel), for respondents.



Order, Supreme Court, New York County (Lori S. Sattler, J.), entered on or about February 1, 2022, which, to the extent appealed from as limited by the briefs, in this proceeding brought pursuant to article 7 of the Real Property Tax Law, granted respondents' motion to dismiss the petition for the tax year 2004/2005, unanimously affirmed, without costs.
Supreme Court properly determined that petitioner failed to timely file a note of issue for its 2004/2005 tax year petition (see  Real Property Tax Law § 718[1]). The parties' stipulation extending the deadline to file the note of issue did not take effect because petitioner failed to satisfy the condition precedent that petitioner file a complete certified statement of income and expenses for tax years 2004/2005 through 2008/2009 on or before September 14, 2009. The form filed by petitioner was not complete under the terms of the stipulation, as it failed to disclose financial information for 2005, which relates to the 2006/2007 tax year.
In light of the foregoing, we need not reach the issue of whether the note of issue was filed in compliance with the deadline set forth in the stipulation.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 23, 2023








